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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LINDA ASPINALL and DONALD ASPINALL,             )
                      Plaintiff,                )
                                                )      No. 1:19-cv-27
-v-                                             )
                                                )      Honorable Paul L. Maloney
MENARD, INC.,                                   )
                           Defendant.           )
                                                )

                                     JUDGMENT

      Because this Court lacks subject-matter jurisdiction over the lawsuit, the matter has

been remanded to the Calhoun County Circuit Court. The claims are dismissed without

prejudice. As required by Rule 58 of the Federal Rules of Civil Procedure, JUDGMENT

ENTERS.

      THIS ACTION IS TERMINATED.

      IT IS SO ORDERED.

Date: January 28, 2019                              /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge
